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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION


  LAKE SUPERIOR ACADEMY,

            Plaintiff,                        Case No. 2:25−cv−00160−PLM−MV

     v.                                       Hon. Paul L. Maloney

  ODESSA PARTNERS, LLC,

            Defendant.
                                         /

                    NOTICE REGARDING ASSIGNMENT OF CASE
                          AND NOTICE OF DEFICIENCY
         NOTICE is hereby given that the above−captioned case was removed
  from Chippewa County Circuit Court, and electronically filed in this court on
  July 9, 2025 . The case has been assigned to Paul L. Maloney .
         The filing party has failed to submit a corporate disclosure statement
  as required by FRCP 7.1. Counsel is required to file this form, even if there is
  no corporate affiliation to disclose, for every corporate party. A form for this
  purpose is available on the court website at www.miwd.uscourts.gov.



                                         CLERK OF COURT

  Dated: July 9, 2025             By:     /s/ N. Stimec
                                         Deputy Clerk
